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STAIR OF MONTANA VALLEY COUNTY

ArT AC Mev 4
| 224634 BOOK: 346 DEEDS PAGE: 986 Pages: 3

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RECORDED: 03/18/2008. 4:32 KOT: WARRANTY
LYNNE NYQUIST CLERK AHD RECORDER
e

FEE: $18.00 BY;

TO: VINGHOT RIRGER 4 UERINAY COURT, .RALTOPELL. wT 5996

4 MERIDAN COURT, . RALIGPRDL. g00L
WARRANTY DEED

THIS INDENTURE ie made and entered into this ash day of
October, 2001, by and between JAMES DAVID GIRTMAN and MILDRED E.
GIRTMAN, husband and wife, of HC 81, Box 302, Nashua, Montana
59248, GRANTORS, and KEVIN MOORE, ajb/a WATTETAIL ‘CLASSICS;

| CHRISTOPHER TRAVIS; WILLIAM MEMRAM, and OTTO KRUFPA, d/b/a ASPEN

‘GROUP LTD., of P. 0. Box 619, Bigfork, Montana 59911, GRANTEE (S$) -

WITNESSETH, that Grantor(s), for valuable consideration,
paid by Grantee(s), the receipt whereof is hereby acknowledged,
does by these. presents grant, bargain, sell, convey, warranty and
confirm unto Grantee (s), afd to the successors, heirs and/or
assigns of Grantee(s) forever, the hereinafter described real
‘astate situated in the County of Valley, State of Montana:

See Exhibit “A” attached hereto and by this reference
made a part hereof.

SUBJECT to reservations, right of ways and easements
whether of record or not and whether visible or not,
and prior mineral and royaity reservations and
conveyances of record, if any,

Together with all and singular the hereinbefore described
premises, ail tenements, hereditaments, and appurtenances thereto
belonging or in anywise appertaining, and the reversion and
reversions, remainder and remainders, rents, issues, ahd profite
thereof; and also all the estate, right, title, interest,
possession, claim and demand whatsoever, of Grantor(s), of, in or
to the said premises, and every part and parcel thereof, with the
appurtenances thereto belonging, to have and to hold, ali and
| Singular the above mentioned and described premises unto
| Grantee (s), and to the sucgessors, heirs and/or assigns of

Grantee(s) forever.

And Grantor(s), and Grantor's successors, heirs and/or
assigns do hereby covenant to forever warrant and defend all
yight, title and interest in and to the said premises and the
quiet and peaceable possession thereof, unto Grantee is), and to
the su¢cessors, heirs and/or assigne of Grantee (Ss), against ail
acts and deeds of Grantor (s) -

by rite ads -
‘% 7 bates
CHRISTOFFERSEN & KNIERTM, PC.
Avorneys at Law

EXHIBIT

A

tabbies*

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Cy 5 il:
GRANTOR
STATE OF MONTANA }
County of Valley }

This instrument was acknowledged before me this “7S day of
October, 2001, by JAMES DAVID GIRIMAN and RED EB. GIRTMAN.

Wotary Publi or State of Montana

Residing at Glasgow, Montana
My commission expires 6-2-zar2_

-2-
CHRISTOFFERSEN & KNIERIN, P.C.
Atarneys at Law

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EXHIBIT “A

TOWNSHIP 28 NORTH, RANGE 41 E.M.M.

Section 29: Bots 6, 7, 13 and 15, S¥NEY

Section 28: HWY, (less railroad and highway rights of way)

Section 29: A-strip or piece of land 185 feet wide in the
NEVWEY of Section 29, Township 28 North, Range 41
E.M.M., being all that part of the right of way of
the railway of Great Northern Railway Company
lying betwedn two lines parallel to and distant,
respectively, 75 feet and 260 feet southwesterly,
measured at right angles, from the center line of
the railway of the Great Northern Pailway Company,
zs now located and constructed and extending from
the east line of said Section 29 northwesterly to
a line @rawn at right angles to said center line
of railway at a point therein distant
northwesterly 8060 feet, measured along center
line, from its intersection with the Bast line of
said Séction 29, containing 3.46 acres, more or
less. (Deed reference Book 61 of MRE -on pages

323-328) -

A strip or piece of land 185 feet wide in the EXNWX of
Section 28, Township 28 North, Range 41 E.M.M., being all
that part of said EW lying between two lines parallel to
and distant, respectively, 75 feet and 260 feet
southwestexly, measured at xight angles, from the center
line of the main tract of the railway of the Great Northern
Railway Company, as now located and constxructéd, containing
5.94 acres, more or less. (Deed reference Book 63 of MRE on

pages 27-28)

TOWNSHIP 28 NORTH, RANGE 41 E.M.M.
Section 29; Lots 1, 2, S, &, 10, 11, NENEK
Section 30: Lot 23

After recording, please return to:

Vincent. G. Rieger

Law Office of Vincent 'G. Rieger, P.C.
4 Meridian Court

Kalispell, MP 59901

